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 13   Attorneys for Defendant
      ARMAN GABAEE
 14

 15                        UNITED STATES DISTRICT COURT
 16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17

 18 UNITED STATES OF AMERICA,                    Case No.: 2:18-CR-00331-GW-1
 19                     Plaintiff,               DEFENDANT ARMAN GABAEE’S
 20 v.                                           SECOND SUPPLEMENTARY
                                                 MEMORANDUM, WITH LEASE
 21 ARMAN GABAEE,
                                                 EXHIBITS
 22                     Defendant.
 23                                              Hearing Date: December 15, 2022
                                                 Hearing Time: 8:00 a.m.
 24
                                                 Location:     Courtroom of the Hon.
 25                                                            George Wu
 26

 27        Defendant ARMAN GABAEE, through counsel, hereby submits his Second
 28 Supplementary Memorandum, with Lease Exhibits.


                                                1
                         DEFENDANT’S SECOND SUPPLEMENTARY MEMORANDUM
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  1
            Defendant reserves the opportunity to make additional comments at the
  2
      sentencing hearing in this matter.
  3

  4
      Date: December 12, 2022                   Respectfully submitted:
  5

  6                                        By    /s/Robert L. Shapiro
                                                ROBERT L. SHAPIRO
  7                                             TENY R. GERAGOS
                                                MARC AGNIFILO
  8                                             MATIN EMOUYNA
  9                                             Attorneys for Defendant
                                                ARMAN GABAEE
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                          DEFENDANT’S SECOND SUPPLEMENTARY MEMORANDUM
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  1
                                                 I.
  2
                                 EXPLANATORY REMARKS
  3
            On December 8, 2012 Defendant Arman Gabaee, through counsel,
  4
      respectfully submitted two exhibits, one of which was lease information for the
  5
      12000 Hawthorne Boulevard property in Hawthorne, California. This lease
  6
      established that Arman’s company M & A Gabaee, a California Limited Partnership,
  7
      leased the subject property to the County of Los Angeles at the low end of the
  8
      market range.
  9
            The purpose of this brief memorandum is to establish that the seven additional
 10
      leases that Arman and his company entered into with the County of Los Angeles
 11
      over the past several decades were either below the market range or within the
 12
      market range. Two of the seven leases represent properties that Arman’s company
 13
      acquired that already had pre-existing leases with the County of Los Angeles at the
 14
      time of purchase. In these two instances, the County of Los Angeles chose to
 15
      continue the leases with Arman’s company. The other five leases constitute leases
 16
      for properties that the County of Los Angeles leased directly from Arman and his
 17
      company.
 18
            Paperwork concerning each of the seven leases is attached to this
 19
      memorandum and constitutes verification that each of the subject leases was either
 20
      below the market range, or in the cases of the properties located at 3303 N.
 21
      Broadway in Los Angeles and 2910 Beverly Boulevard in Los Angeles, within
 22
      and/or near the low end of the market range. In this filing, the seven leases will be
 23
      attached as Exhibits A through H.
 24
          • Exhibit A refers to a County lease located at 9320 Telstar, El Monte, CA.
 25
          • Exhibit B refers to a County lease located at 532 Colorado Blvd, Pasadena,
 26
              CA.
 27

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                           DEFENDANT’S SECOND SUPPLEMENTARY MEMORANDUM
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  1
          • Exhibit C refers to a County lease located at 3216 Rosemead Blvd, El
  2
              Monte, CA. This lease is for space required by the Department of Social
  3
              Services and the District Attorney’s Office.
  4
          • Exhibit D refers to a renewal of a County lease located at 3216 Rosemead
  5
              Blvd, El Monte, CA for space required by the Department of Social Services.
  6
          • Exhibit E refers to a County lease located at 3303 N. Broadway, Los
  7
              Angeles, CA.
  8
          • Exhibit F refers to a County lease located at 15531 Ventura Blvd, Encino,
  9
              CA.
 10
          • Exhibits G and H refer to a County lease located at 2910 W. Beverly Blvd.,
 11
              Los Angeles, CA. Due to the difficulty in obtaining older leasing paperwork
 12
              that is not readily available, for the sake of clarity, two exhibits are attached
 13
              regarding this lease.
 14
            Defendant Gabaee, through counsel, respectfully requests that the Court, at
 15
      Sentencing, give all due weight to this highly relevant information.
 16

 17
      Date: December 12, 2022                  Respectfully submitted:
 18

 19                                      By:    /s/Robert L. Shapiro
                                               ROBERT L. SHAPIRO
 20                                            TENY R. GERAGOS
                                               MARC AGNIFILO
 21                                            MATIN EMOUYNA
 22                                            Attorneys for Defendant
                                               ARMAN GABAEE
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                           DEFENDANT’S SECOND SUPPLEMENTARY MEMORANDUM
